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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION


 UNITED STATES OF AMERICA,                           )
                                                     )
        Plaintiff                                    )
                                                     )
 v.                                                  )      Case No. 1:18-cr-10015-STA-2
                                                     )
 CHRISTOPHER PEDEN,                                  )
                                                     )
        Defendant                                    )


                    ORDER RESETTING CHANGE OF PLEA HEARING
                            AND NOTICE OF RESETTING


        The Change of Plea in this matter is currently set for October 9, 2018 before Chief Judge

 S. Thomas Anderson. The Change of Plea in the above styled matter is hereby reset to Monday,

 October 15, 2018, at 9:45 a.m. before Judge S. Thomas Anderson; Courtroom #1, 4th Floor, US

 Courthouse, Jackson, Tennessee.



        Enter this the 4th day of October, 2018.



                                                     s/ S. Thomas Anderson
                                                     Chief United States District Judge
